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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                     CASE NO. 14-CV-80468-MIDDLEBROOKS/BRANNON

   SECURITIES AND EXCHANGE COMMISSION,

                                 Plaintiff,

   v.

   JCS ENTERPRISES, INC. d/b/a JCS
   ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
   JOSEPH SIGNORE, and PAUL L. SCHUMACK, II,

                           Defendants.
   ____________________________________________/

      ORDER GRANTING RECEIVER’S FOURTH INTERIM APPLICATION FOR AN
    ORDER APPROVING AND AUTHORIZING PAYMENT OF FEES AND EXPENSES OF
         THE RECEIVER AND HIS PROFESSIONALS WITH INCORPORATED
                         MEMORANDUM OF LAW

          THIS CAUSE comes before the Court on the Receiver’s Fourth Interim Application for
   an Order Approving and Authorizing Payment of Fees and Expenses of the Receiver and his
   Professionals with Incorporated Memorandum of Law (the “Application”) [DE ____] for the
   period of August 1, 2015 to August 31, 2016 (the “Application Period”). I have reviewed the
   Application and am otherwise fully advised in the premises. After reviewing the Application,
   finding that the fees therein are reasonable, necessary, and consummate with the skills and
   experience required for the activities performed and described therein, I find that there is good
   cause to grant the Application.
          Accordingly, Paragraph 14 of the Court’s Order Reappointing Receiver [DE 173], the
   Court’s Order Granting Receiver’s Motion to Expand Receivership to Include My Gee Bo, Inc.
   [DE 26], and the Court’s Order Granting Receiver’s Motion to Expand Receivership to Include
   JOLA Enterprises Inc. and PSCS Holdings, LLC [DE 168] it is hereby
          ORDERED AND ADJUDGED as follows:
          1.      The Application [DE____] is GRANTED and APPROVED.
          2.      The total amount of fees incurred by the Receiver during the Application Period
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   in the amount of $46,229.98 is hereby APPROVED.
          3.     The Receiver is AUTHORIZED to distribute to the Receiver the amount of
   $46,229.98.
          4.     The total amount of fees and costs incurred by the Receiver’s lead counsel, Sallah,
   Astarita & Cox, LLC, during the Application Period in the amount of in the amount of
   $150,548.82 (comprised of $136,290.00 of fees and $14,258.82 of costs) is hereby APPROVED.
          5.     The Receiver is AUTHORIZED to distribute a payment to his lead counsel,
   Sallah, Astarita & Cox, LLC, the amount of in the amount of $150,548.82 (comprised of
   $136,290.00 of fees and $14,258.82 of costs).
          6.     The total amount of fees and costs incurred by the Receiver’s counsel, Law Offices
   of Robert Carey, PL, during the Application Period in the amount of in the amount of $103,681.00
   (comprised of $100,854.00 of fees and $2,827.00 of costs) is hereby APPROVED.
          7.     The Receiver is AUTHORIZED to distribute a payment to the Receiver’s counsel,
   Law Offices of Robert Carey, PL, the amount of in the amount of $103,681.00 (comprised of
   $100,854.00 of fees and $2,827.00 of costs).
          8.     The total amount of fees incurred by the Receiver’s counsel, Akerman LLP, during
   the Application Period in the amount of in the amount of $1,912.00 is hereby APPROVED.
          9.     The Receiver is AUTHORIZED to distribute to the Receiver’s counsel, Akerman
   LLP, the amount of $1,912.00.
          10.    The total amount of fees and costs incurred by the Receiver’s counsel, Payton and
   Rengstl, LLC, during the Application Period in the amount of $13,027.77 (comprised of
   $12,690.00 of fees and $337.77 of costs) is hereby APPROVED.
          11.    The Receiver is AUTHORIZED to distribute to the Receiver’s counsel, Payton
   and Rengstl, LLC, during the Application Period the amount of $13,027.77 (comprised of
   $12,690.00 of fees and $337.77 of costs).
          12.    The total amount of fees and costs incurred by the Receiver’s counsel, Dimond
   Kaplan Rothstein, P.A., during the Application Period in the amount of $45,600.62 (comprised of
   $42,990.00 of fees and $2,610.62 of costs) is hereby APPROVED.
          13.    The Receiver is AUTHORIZED to distribute to the Receiver’s counsel, Dimond
   Kaplan Rothstein, P.A., during the Application Period the amount of $45,600.62 (comprised of
   $42,990.00 of fees and $2,610.62 of costs).


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          The total amount of fees and costs incurred by the Receiver’s forensic accountants,
   KapilaMukamal, LLP, during the Application Period in the amount of $219,378.29 (comprised of
   $217,760.20 of fees and $1,618.09 of costs) is hereby APPROVED.
          The Receiver is AUTHORIZED to distribute to the Receiver’s forensic accountants,
   KapilaMukamal, LLP, during the Application Period the amount of $219,378.29 (comprised of
   $217,760.20 of fees and $1,618.09 of costs).
          14.     The Receiver and his professionals are entitled to the above approved and
   authorized distributions from assets and funds presently in the possession or control of, or which
   may be received by, the Receivership Estate.
          DONE AND ORDERED in Chambers in West Palm Beach, Florida this _______ day of

   ___________________, 2017.


                                                  _______________________________
                                                  DONALD M. MIDDLEBROOKS
                                                  UNITED STATES DISTRICT JUDGE


   Copies to: Counsel of Record

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